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 1
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 6   ATTORNEY FOR Defendant,
     JOSEPH NOLAN
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 8
                                 UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10
                                               ******
11   UNITED STATES OF AMERICA,                        Case No.: 1:10-CR-00131-AWI
12
                   Plaintiff,                         AMENDED MOTION TO CONTINUE
13                                                    SENTENCING TO JUNE 22, 2015 AT
            v.                                        10:00 A.M.
14                                                    EVIDENTIARY HEARING REQUESTED

15   JOSEPH NOLAN,                                    Date: May 18, 2015
                                                      Time: 10:00 am
16                 Defendant.                         Courtroom: 2
17

18          Defendant, JOSEPH NOLAN, by and through his attorney of record, Anthony P.

19   Capozzi and Michael D. Nasatir hereby request that the sentencing of Defendant, Joseph Nolan,

20   presently set for May 18, 2015, be continued to June 22, 2015. Said Request is based on the

21   Declaration of Anthony P. Capozzi.

22                         DECLARATION OF ANTHONY P. CAPOZZI

23          I, ANTHONY P. CAPOZZI, DECLARE:

24          1.     This attorney represents Joseph Nolan, along with attorney Michael D. Nasatir.

25          2.     This matter has been continued a number of times due to certain negotiations

26   which have been referred to in the Government’s motion filed under seal on April 14, 2015.

27          3.     Mr. Nasatir, Joseph Nolan, and Kent Costley, who prepared an alternative

28   Presentence Report, are all from the Los Angeles area.
                                                    1
                                     MOTION TO CONTINUE SENTENCING
                                      CASE NO.: 1:10-CR-00131-AWI
      Case 1:10-cr-00131-LJO Document 254 Filed 05/14/15 Page 2 of 3
 1        4.     All of the persons mentioned including myself need to be present for the

 2   sentencing. Mr. Kent Costley is not available on May 18, 2015.

 3          5.      The sentencing issues are complex in terms of leadership, using a premises to

 4   grow marijuana and the state of the law regarding medical marijuana dispensaries and the

 5   proper scheduling of marijuana as a narcotic. An Evidentiary Hearing has been requested.

 6          6.      On May 13, 2015, Assistant United States Attorney, Karen Escobar, filed a

 7   Sentencing Memorandum with facts alleged that the Defendant contests.

 8          7.      On May 13, 2015, this attorney, while attending a meeting in San Francisco, was

 9   notified of the Government’s memorandum and contacted the Assistant United States Attorney

10   for a short continuance to respond to the Government’s memorandum. The Assistant United

11   States Attorney had just gotten of an airplane in Washington, D.C. and would be out until our

12   court appearance on May 18, 2015.

13          8.      The Assistant United States Attorney refused to agree to a continuance since the

14   DEA had a large amount of the marijuana grow equipment in storage at the Government’s

15   expense.

16          9.      The Defendant had agreed to forfeit the equipment to the Government on March

17   14, 2012. There isn’t any need to keep the equipment in storage.

18          10.     It is respectfully requested that the sentence date be continued to June 22, 2015.

19                                             Respectfully submitted,

20   DATED:       May 14, 2015           By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
21                                           Attorney for Defendant JOSEPH NOLAN
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                                      MOTION TO CONTINUE SENTENCING
                                       CASE NO.: 1:10-CR-00131-AWI
      Case 1:10-cr-00131-LJO Document 254 Filed 05/14/15 Page 3 of 3
 1                                   ORDER

 2            For reasons set forth above, the defendants request to continue the Sentencing hearing

 3   from May 18, 2015, to June 22, 2015, is hereby granted.

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 5   IT IS SO ORDERED.

 6   Dated:    May 14, 2015
                                                 SENIOR DISTRICT JUDGE
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                                       MOTION TO CONTINUE SENTENCING
                                        CASE NO.: 1:10-CR-00131-AWI
